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 Counsel for Plaintiff

                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK

     GILBERT IRVIN,                                  Case No: 1:22-cv-02806-WFK-VMS

          Plaintiff,
                                                     NOTICE OF VOLUNTARY DISMISSAL
          v.                                         PURSUANT TO FED. R. CIV. P.
                                                     41(a)(1)(A)(i)
     HEALTHCARE REALTY TRUST
     INCORPORATED, JOHN KNOX
     SINGLETON, TODD J. MEREDITH,
     JOHN V. ABBOTT, NANCY H. AGEE,
     EDWARD H. BRAMAN, AJAY GUPTA,
     JAMES J. KILROY, PETER F. LYLE,
     and CHRISTANN M. VASQUEZ,

          Defendants.


        PLEASE TAKE NOTICE that, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of

 Civil Procedure, Plaintiff Gilbert Irvin hereby voluntarily dismisses the above-captioned action.

 Defendants have not served an answer or a motion for summary judgment.

 Dated: June 17, 2022                                Respectfully submitted,

                                                     HALPER SADEH LLP

                                                     By: /s/ Daniel Sadeh
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